
Greenway Medical Supply Corp., as Assignee of Lubin, Sherline, Appellant,
againstELRAC, Inc., Respondent.




The Rybak Firm, PLLC (Damin J. Toell, Esq.), for appellant.
Carman, Callahan &amp; Ingham, LLP (Jeffrey P. Saxon, Esq.), for respondent.

Appeal from an order of the Civil Court of the City of New York, Queens County (Richard G. Latin, J.), entered July 29, 2014. The order granted defendant's motion for summary judgment dismissing the complaint.




ORDERED that the order is affirmed, with $25 costs. 
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals from an order of the Civil Court which granted defendant's motion for summary judgment dismissing the complaint on the ground that defendant had timely and properly denied the claim at issue based on its untimely submission (see 11 NYCRR 65-2.4 [c]).
For the reasons stated in Greenway Med. Supply Corp. v ELRAC, Inc. (54 Misc 3d 126[A], 2016 NY Slip Op 51774[U] [App Term, 2d Dept, 2d, 11th &amp; 13th Jud Dists 2016]), the order is affirmed. 
PESCE, P.J., ALIOTTA and SOLOMON, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: September 15, 2017










